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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                          CASE NO. 22-80139-MC-CANNON/Reinhart

  UNITED STATES OF AMERICA,

         Petitioner,
  v.

  BOCA VIEW CONDOMINIUM ASSOCIATION, INC.,
  DIANA KUKA, ROSE WATKINS,
  POINTE MANAGEMENT GROUP, INC.
  and ERIC ESTEBANEZ,

         Respondents.
                                                       /

                        ORDER ACCEPTING MAGISTRATE JUDGE’S
                       REPORT AND RECOMMENDATION [ECF No. 9]

         THIS CAUSE comes before the Court upon the Magistrate Judge’s Report and

  Recommendation on the United States’ Petition to Enforce Subpoenas (the “Report”) [ECF No. 9].

  On January 27, 2022, the United States (“Petitioner”) filed a Petition to Enforce Subpoenas as

  Issued by the United States Department of Housing and Urban Development (the “Petition”)

  [ECF No. 1].    On February 25, 2022, following referral, Judge Reinhart issued a Report

  recommending that the Petition be granted [ECF No. 9 pp. 2, 12]. Petitioner filed a Notice of No

  Objection [ECF No. 10]. Respondents filed Objections to the Report [ECF No. 11]. The Court

  held a hearing on the Report and Respondents’ Objections on April 20, 2022 [ECF No. 13].

  Following the hearing, and pursuant to the Court’s Order Following Hearing [ECF No. 14], the

  parties filed supplemental briefing in support of their positions regarding the Petition [ECF No. 15

  (Petitioner’s Supplemental Brief); ECF No. 16 (Respondents’ Supplemental Brief)].
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                                         LEGAL STANDARD

         To challenge the findings and recommendations of a magistrate judge, a party must file

  specific written objections identifying the portions of the proposed findings and recommendation

  to which objection is made. See Fed. R. Civ. P. 72(b)(3); Heath v. Jones, 863 F.2d 815, 822

  (11th Cir. 1989); Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006). A district court

  reviews de novo those portions of the report to which objection is made and may accept, reject,

  or modify in whole or in part, the findings or recommendations made by the magistrate judge.

  28 U.S.C. § 636(b)(1). To the extent a party fails to object to parts of the magistrate judge’s report,

  the Court may accept the recommendation so long as there is no clear error on the face of the

  record. Macort, 208 F. App’x at 784. Legal conclusions are reviewed de novo, even in the absence

  of an objection. See LeCroy v. McNeil, 397 F. App’x 554, 556 (11th Cir. 2010); Cooper-Houston

  v. S. Ry. Co., 37 F.3d 603, 604 (11th Cir. 1994).

                                             DISCUSSION

         The Court has conducted a de novo review of the Report [ECF No. 9], Respondents’

  Objections [ECF No. 11], Petitioner’s Supplemental Brief [ECF No. 15], Respondents’

  Supplemental Brief [ECF No. 16], and the full record. Upon review of the foregoing materials,

  the Court agrees with the Report’s recommendation to grant the Petition. The Court offers the

  following brief reasoning in light of the parties’ positions as explored at the hearing and in the

  supplemental briefs. 1

         The United States Department of Housing and Urban Development (“HUD”) is responsible

  for investigating complaints of housing discrimination in violation of the Fair Housing Act




  1
   This Order otherwise assumes familiarity with the facts, procedural background, legal principles,
  and litigants’ arguments as laid out in the Report [ECF No. 9 pp. 2–5].


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  (“FHA”). See 42 U.S.C. §§ 3610, 3611; see also 24 C.F.R. § 103.200. To carry out this

  responsibility, 24 C.F.R. § 103.200 authorizes HUD to pursue the following investigative

  purposes:

          (1) To obtain information concerning the events or transactions that relate to the
          alleged discriminatory housing practice identified in the complaint.

          (2) To document policies or practices of the respondent involved in the alleged
          discriminatory housing practice raised in the complaint.

          (3) To develop factual data necessary for the General Counsel to make a
          determination under § 103.400 whether reasonable cause exists to believe that a
          discriminatory housing practice has occurred or is about to occur, and for the
          Assistant Secretary to make a determination under § 103.400 that no reasonable
          cause exists to believe that a discriminatory housing practice has occurred or is
          about to occur, and to take other actions provided under this part.

  24 C.F.R. § 103.200(a)(1)–(3).

          As relevant here, under the FHA, it is illegal “[t]o discriminate in the sale or rental, or to

  otherwise make unavailable or deny, a dwelling to any buyer or renter because of a handicap of—

  (A) that buyer or renter.” 42 U.S.C. § 3604(f)(1). A person is considered “handicapped” within

  the meaning of the FHA if the person has “a physical or mental impairment which substantially

  limits one or more of such person’s major life activities,” or, as is critical here, is merely “regarded

  as” having a such an impairment. Id. § 3602(h)(3); see 24 C.F.R. § 100.201(d) (providing that a

  person is “regarded as” impaired even if he or she is not actually impaired, so long as the person

  is “treated by another person” as being impaired).

          The contested question in this Petition is whether HUD has demonstrated that it issued the

  subject subpoenas in accordance with a legitimate purpose as delineated in 24 C.F.R. § 103.200(a)

  [ECF No. 1-13].       Petitioner identifies its legitimate purpose as investigating allegedly

  discriminatory housing practices raised by Complainant Greta Tremmel (condominium unit

  owner) against Respondents (condominium association and related individuals), arising out of



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  Respondents’ allegedly discriminatory animus towards Tremmel’s prospective tenant, Jennifer

  Piraino [ECF No. 15 p. 2; see also ECF No. 1 pp. 2–5]. Petitioner supports its legitimate purpose

  by arguing that (1) HUD has the authority to investigate complaints of fair housing discrimination,

  including discrimination towards a person who does “not have an impairment, but is treated by

  another person as having such an impairment” [ECF No. 15 p. 2 (citing 24 C.F.R. § 100.201(d))],

  and (2) Tremmel has statutory standing to raise a complaint concerning Respondents’ allegedly

  discriminatory behavior toward her prospective potential tenant [ECF No. 15 pp. 2–4].

  Respondents reply that HUD’s investigation is not based on a legitimate purpose because HUD

  has not identified a handicapped individual under 42 U.S.C. § 3604(f) and thus lacks authority to

  investigate Tremmel’s complaint [ECF No. 5 pp. 10–15; ECF No. 11 pp. 3–9].

         Petitioner clarified at the Hearing, and further explained in its Supplemental Brief

  [ECF No. 15], that it seeks the subpoenas to investigate Respondents’ allegedly discriminatory

  behavior towards Jennifer Piraino (tenant), and that Tremmel (Complainant) has statutory standing

  under § 804 of the Fair Housing Act, see 42 U.S.C § 3604, to file a complaint concerning

  Respondents’ behavior [ECF No. 15 pp. 1–4]. Specifically, Petitioner states that

         Greta Tremmel [(the Complainant)] alleges that she was injured by Respondents’
         denial of an opportunity to lease her condominium unit at Boca View
         Condominium to Jennifer Piraino because they regarded Piraino as having an
         impairment. Therefore, sections 804(f)(1)(C) and 804(f)(2)(C) of the FHA includes
         Tremmel as a potential aggrieved person because Piraino, her prospective tenant,
         meets the “regarded as” disabled prong of the definition of “disability,” as outlined
         in 42 U.S.C. § 3602(h)(3).

  [ECF No. 15 p. 2].

         Under the applicable law, the Court ultimately agrees that Petitioner has established a

  legitimate purpose in investigating Respondents’ allegedly discriminatory behavior towards




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  Piraino, an individual alleged to have been “regarded as” impaired. This conclusion follows from

  two subsidiary points.

         First, Piraino, an ICU nurse, is “regarded as” a handicapped person within the meaning of

  42 U.S.C. § 3602(h)(3), because she was allegedly treated by Respondents in a discriminatory

  manner on account of her association with COVID-19 patients who have an impairment, COVID-

  19 [ECF No. 15 pp. 1–2; see also ECF No. 15 pp. 3–4 (collecting cases where people who are

  associated with a disabled individual brought a claim for disability discrimination due to their

  association with a disabled person)]. 2   “Persons with COVID-19 and persons associated with

  persons with COVID-19 . . . including medical personnel, may be subjected to discrimination

  under the Fair Housing Act because they are regarded as having an impairment that substantially

  limits major life activity, even if they do not have one” [ECF No. 15 p. 2 (citing Matarese v.

  Archstone Cmtys., 468 F. App’x 283, 284 (4th Cir. 2012))]. In this context, it is immaterial whether

  Piraino was in fact associated with individuals with COVID-19 in her role as a nurse, because as

  alleged, Respondents treated her as if she was impaired [see ECF No. 1 ¶ 15]. See 42 U.S.C.

  § 3602(h)(3) (explaining that a person is considered “handicap” if they do not necessarily have an

  impairment but are “regarded as having such an impairment”); 24 C.F.R. § 100.201(d) (explaining

  that an individual with an impairment includes an individual who has no impairment “but is treated

  by another person as having such an impairment”). Thus, Respondents’ argument that Petitioner

  did not identify a person targeted with discrimination on account of disability fails; Piraino is the

  identified individual who suffered discrimination on account of Respondents treating and

  regarding her as an individual with an impairment.




  2
    No party disputes that COVID-19 can constitute a “physical or mental impairment which
  substantially limits one or more of such person's major life activities.” 42 U.S.C. § 3602(h)(1).


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         Second, the Complainant, here Greta Tremmel, does not have to be the individual targeted

  with discrimination to bring a complaint for a violation of the Fair Housing Act. Tremmel can file

  a complaint as a potentially “aggrieved person” under Sections 804(f)(1)(C) and 804(f)(2)(C) of

  Title VIII, 42 U.S.C. § 3604, because Tremmel’s prospective tenant, Jennifer Piraino, is “regarded

  as” a disabled individual [ECF No. 15 p. 2 (citing § 3602(h)(3))]. See, e.g., Gladstone Realtors v.

  Bellwood, 441 U.S. 91, 104 n.9 (1979) (stating that, “as long as the plaintiff suffers actual injury

  as a result of the defendant’s conduct, he is permitted to prove that the rights of another were

  infringed” under Section 804 of the FHA). Here, Tremmel claims that she suffered injury by not

  being allowed to rent her condo unit to Piraino on account of discriminatory animus by

  Respondents toward Piraino [ECF No. 1 ¶¶ 13, 15; ECF No. 15 p. 2]. Therefore, there is a basis

  on this record to support HUD’s legitimate investigation of Tremmel’s claim, where Tremmel

  claims to have been “genuinely injured by conduct that violates someone’s § 804 rights.” Id.

  (emphasis in original).

         The United States’ Petition to Enforce Subpoenas [ECF No. 1] is therefore GRANTED

  for the reasons set forth in the Report [ECF No. 9 pp. 5–12] as supplemented by this Order. 3

                                           CONCLUSION

         Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

         1. The Report and Recommendation [ECF No. 9] is ACCEPTED.

         2. The United States’ Petition to Enforce Subpoenas [ECF No. 1] is GRANTED.




  3
    The Court has considered Respondents’ overbreadth-related arguments in opposition to the
  subpoenas [ECF No. 11 pp. 11–23] and finds them to be without merit.


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        3. Respondents are hereby ORDERED to produce to the Government the documents and

           completed responses to the information requested in the subpoenas [ECF No. 1-13] on

           or before April 6, 2023.

               a. Each Respondent either shall (1) produce the documents if they are in its

                   possession, custody, or control; (2) serve a written response to the subpoena

                   stating that, after reasonable inquiry, no responsive documents exist, see Fed.

                   R. Civ. P. 34(b)(2); or (3) serve a written response to the subpoena stating that,

                   after a reasonable inquiry, the Respondent has determined that responsive

                   documents exist but those documents are not within its care, custody, or control.

               b. Respondents do not need to duplicate identical responses.

               c. On or before April 6, 2023, Respondents shall file a notice of compliance

                   certifying that they have complied with this Order.

        4. Any sensitive financial information or Social Security Numbers should be disclosed

           subject to a protective order and agreement of the parties [see ECF No. 1 p. 10;

           ECF No. 7 p. 7].

        5. The Court’s Order staying the production of all documents and responses at issue in

           this case [ECF No. 12] is hereby LIFTED.

        DONE AND ORDERED in Chambers at Fort Pierce, Florida this 16th day of March 2023.



                                                         _________________________________
                                                         AILEEN M. CANNON
                                                         UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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